      Case 18-58406-sms              Doc 111 Filed 08/14/18 Entered 08/14/18 12:31:08                                 Desc Ntc.
                                           Proof of Claim Page 1 of 1
                                        UNITED STATES BANKRUPTCY COURT

                                                  Northern District of Georgia


In     Debtor(s)
Re:    American Underwriting Services, LLC                           Case No.: 18−58406−sms
       1255 Roberts Blvd.                                            Chapter: 7
       Suite 102                                                     Judge: Sage M. Sigler
       Kennesaw, GA 30144
       UNITED STATES

       20−3246565



                                            NOTICE SETTING DEADLINE FOR
                                              FILING PROOFS OF CLAIM

     You were previously notified that the schedules of the Debtor(s) disclosed no assets available for distribution to
creditors. The Trustee now reports that funds may be available for distribution.

     Therefore, you are hereby notified that, if you wish to participate in any distribution which may be paid from the
estate, you must file a proof of claim on or before:



                                           Non−government proof of claim: 11/13/18




                                              Government proof of claim: 11/14/18


                                              File with:
                                              United States Bankruptcy Court
                                              1340 United States Courthouse
                                              75 Ted Turner Drive SW
                                              Atlanta, GA 30303


Use Official Form B410 to file a claim. To file electronically visit www.ganb.uscourts.gov and access the ePOC tab. To obtain a claim form
                                      (B410) visit www.ganb.uscourts.gov and access the Forms tab.

                       If you have already filed your proof of claim, it is not necessary to refile.




                                                                                            M. Regina Thomas
                                                                                            Clerk of Court
                                                                                            U.S. Bankruptcy Court
Dated: August 14, 2018
Form ntcpoc
